
FRANK, Judge.
Michael R. Davis, appellant, was convicted in a jury trial of vehicular aggravated involuntary manslaughter, in violation of *452Code § 18.2-36.1(B). Appellant contends the trial court erred in failing to dismiss the manslaughter indictment because that conviction violates both the Double Jeopardy Clause of the United States Constitution and § 19.2-294 of the Code of Virginia. He also contends the evidence was not sufficient to prove causation and criminal negligence. Finding no error, we affirm the trial court.

BACKGROUND

Under well established principles of appellate review, we view the evidence and all reasonable inferences deducible from that evidence in the light most favorable to the Commonwealth, the party prevailing below. Banks v. Commonwealth, 41 Va.App. 539, 543, 586 S.E.2d 876, 877 (2003). So viewed, on the evening of January 6, 2009, appellant attended a birthday party along with his cousins, Lawanda Rainey and Ronald White. Both White and appellant drank alcohol at the party. White left the party on foot before appellant, and Rainey left in appellant’s car.
As Davis drove on an unlit stretch of Mecklenburg Avenue, he was sending text messages on his cellular phone. Appellant testified his headlights illuminated the road. Rainey saw something in the road and yelled to appellant to “watch out.” Seconds later, appellant hit White, who was lying in the road. Rainey never indicated appellant took any evasive action prior to striking White. Appellant lost control of his car and crashed into a ditch.
Officers arrived at the scene. White was declared dead at the scene. Virginia State Trooper Joseph Landry observed that there were no skid marks leading to the decedent’s body.2 He also observed damage to the front undercarriage of appellant’s car. Landry detected a slight odor of alcohol on appellant. Landry testified appellant appeared to be under the *453influence of alcohol. Landry put appellant into the police car and advised him of his Miranda3 rights. Appellant stated:
I’m going to be honest with you. Me and my cousin was coming down the road. I was sitting there texting on my phone and I did not realize he was laying in the road. And I ran over top of him. And after I ran over top of him, that’s when I realized I had ran over top of something. And that’s when I swerved and hit the bank and everything.
Appellant admitted to drinking alcohol, so Landry administered field sobriety tests. Appellant did not perform satisfactorily. At the sheriffs office, a breath test revealed appellant’s blood alcohol level to be .15.
On April 8, 2009, appellant was convicted in general district court of driving under the influence, in violation of Code § 18.2-266. Immediately after his conviction, appellant was served with an indictment, returned by the grand jury on April 6, 2009, charging him with aggravated involuntary manslaughter, in violation of Code § 18.2-36.1(B).
Appellant filed a motion to dismiss the indictment on July 8, 2009. On July 21, 2009, the trial court conducted a hearing on appellant’s motion. The trial court found no double jeopardy violation under Blockburger v. United States, 284 U.S. 299, 52 S.Ct. 180, 76 L.Ed. 306 (1932), and no violation of Code § 19.2-294.
A jury heard the aggravated involuntary manslaughter case on August 11, 2009. Melissa Kennedy, a forensic scientist who is a supervisor in the Breath Alcohol Department of Forensic Science, testified as an expert in toxicology. She stated that concentration and divided attention problems begin when the blood alcohol level reaches .05.4 Kennedy explained that *454divided attention is the most important part of safe driving. At a .05 blood alcohol level, one begins to lose judgment and the ability to think coherently. She also testified that visual difficulties begin at a blood alcohol level of about .10. Alcohol consumption impairs reaction time such that an impaired driver takes longer to recognize an emergency and to take evasive action. Kennedy stated that while appellant’s blood alcohol level was .15 at the time it was tested, it would have been .19 to .21 at the time of the accident.
At trial, appellant testified that when Rainey told him something was in the road, he “immediately” put his phone down and swerved to avoid the object. Appellant denied not looking at the road. He explained, “I was looking down and looking up at the same time. I wasn’t on. my cell phone the whole entire time.” When asked if he could have seen the object in the road sooner had he had not been texting, but looking forward, appellant replied in the negative, because it was dark. He further admitted that after seeing the object in the road, he had time to swerve around it. At trial, appellant denied hitting White.
The jury convicted appellant of aggravated involuntary manslaughter.
This appeal followed.

ANALYSIS

Appellant contends the trial court erred in failing to dismiss the aggravated involuntary manslaughter indictment because that conviction violates both the Double Jeopardy Clause of the United States Constitution and § 19.2-294 of the Code of Virginia. Specifically, he argues he was improperly convicted and punished twice for committing one offense. He also argues the Commonwealth did not prove that White’s death was caused by appellant driving under the influence of alcohol, nor did the Commonwealth prove the requisite criminal negligence.

*455
Double Jeopardy


Standard of Review

In reviewing a double jeopardy claim, or a claim based on statutory interpretation, this Court shall conduct a de novo review. See Dalo v. Commonwealth, 37 Va.App. 156, 164-65, 554 S.E.2d 705, 709 (2001).
Our inquiry is whether the convictions and punishments for driving while intoxicated and aggravated involuntary manslaughter, both of which arose from the same incident, violate the double jeopardy provision of the Fifth Amendment of the United States Constitution. In pertinent part, this amendment states that “[n]o person shall ... be subject for the same offence to be twice put in jeopardy of life or limb.” U.S. Const, amend. V.
“This constitutional provision guarantees protection against (1) a second prosecution for the same offense after acquittal; (2) a second prosecution for the same offense after conviction; and (3) multiple punishments for the same offense.” Payne v. Commonwealth, 257 Va. 216, 227, 509 S.E.2d 293, 300 (1999).5
To determine whether two charges constitute the same offense, we must consider the rule enunciated in Block-burger, 284 U.S. at 304, 52 S.Ct. at 182.6 “[WJhere the same *456act or transaction constitutes a violation of two distinct statutory provisions, the test to be applied to determine whether there are two offenses or only one, is whether each provision requires proof of a fact which the other does not.” Id. A double jeopardy violation exists only if the offenses always require proof of the same elements. See Illinois v. Vitale, 447 U.S. 410, 419-20, 100 S.Ct. 2260, 2267, 65 L.Ed.2d 228 (1980). “In applying the Blockburger test, we look at the offenses charged in the abstract, without referring to the particular facts of the case under review.” Coleman v. Commonwealth, 261 Va. 196, 200, 539 S.E.2d 732, 734 (2001).
An analysis of whether the multiple convictions and punishments imposed upon appellant are proper requires a determination of legislative intent. Thus, we must first examine the statutes under which appellant was convicted.
Code § 18.2-266 (driving while intoxicated) provides, in relevant part:
It shall be unlawful for any person to drive or operate any motor vehicle ... (i) while such person has a blood alcohol concentration of 0.08 percent or more ... (ii) while such person is under the influence of alcohol, (iii) while such person is under the influence of any narcotic drug or any other self-administered intoxicant or drug of whatsoever nature, or any combination of such drugs, to a degree which impairs his ability to drive or operate any motor vehicle ... (iv) while such person is under the combined influence of alcohol and any drug or drugs to a degree which impairs his ability to drive or operate any motor vehicle....
Code § 18.2-36.1 (aggravated involuntary manslaughter) provides, in relevant part:
A. Any person who, as a result of driving under the influence in violation of clause (ii), (iii), or (iv) of § 18.2-*457266 ... causes the death of another person, shall be guilty of involuntary manslaughter.
B. If, in addition, the conduct of the defendant was so gross, wanton and culpable as to show a reckless disregard for human life, he shall be guilty of aggravated involuntary manslaughter, a felony punishable by a term of imprisonment of not less than one nor more than 20 years, one year of which shall be a mandatory minimum term of imprisonment.
The driving while intoxicated and involuntary manslaughter statutes contain different elements. An element of driving while intoxicated is having a blood alcohol concentration of 0.08 or more. Code § 18.2 — 266(i) requires no evidence of erratic driving, performance on sobriety tests, or any other evidence that the defendant is “intoxicated.” See Code § 4.1-100 (defining “intoxicated” as “a condition in which a person has drunk enough alcoholic beverages to observably affect his manner, disposition, speech, muscular movement, general appearance or behavior”). Blood alcohol concentration is not an element of involuntary manslaughter. While aggravated involuntary manslaughter requires proof of driving under the influence, it also requires criminal negligence and death. Code § 18.2-266 does not require these elements. Viewed in the abstract, conviction under these two statutes passes the Blockburger test.
Because we find that each statute requires proof of additional facts not found in the other, therefore constituting two distinct offenses, there is no constitutional double jeopardy violation.7

*458
Code § 19.2-29í


Standard of Review

Appellant also contends the trial court erred in denying his motion to dismiss because he was twice tried and convicted for the same act. He argues his convictions violate the statutory bar against double prosecution.
As previously noted, in considering a claim based on statutory interpretation, this Court conducts a de novo review. See Dalo, 37 Va.App. at 164-65, 554 S.E.2d at 709.
Code § 19.2-294 states, in relevant part:
If the same act be a violation of two or more statutes, or of two or more ordinances, or of one or more statutes and also one or more ordinances, conviction under one of such statutes or ordinances shall be a bar to a prosecution or proceeding under the other or others.8
“Although the language of [this statute] does not state that it provides a defense of former jeopardy, ‘it amounts to such a defense in purpose and desired effect.’ ” Londono v. Commonwealth, 40 Va.App. 377, 393, 579 S.E.2d 641, 648 (2003) (quoting Epps v. Commonwealth, 216 Va. 150, 155, 216 S.E.2d 64, 68 (1975)). This statute “speaks to ‘acts’ of the accused, not elements of the offense.” Wade v. Commonwealth, 9 Va.App. 359, 365, 388 S.E.2d 277, 280 (1990). So ‘ “if two offenses involve “two separate and distinct acts,” conviction of one does not bar a prosecution for the other.’ ” Johnson v. Commonwealth, 38 Va.App. 137, 145, 562 S.E.2d 341, 345 (2002) (quoting Lash v. County of Henrico, 14 Va.App. 926, 930, 421 S.E.2d 851, 853 (1992) (en banc)).
*459The test of whether there are separate acts sustaining several offenses is whether the same evidence is required to sustain them. In applying the “same evidence” test, the particular criminal transaction must be examined to determine whether the acts are the same in terms of time, situs, victim, and the nature of the act itself.
Johnson, 38 Va.App. at 146, 562 S.E.2d at 345 (internal citations and quotation marks omitted).9 Thus we must compare the acts upon which the manslaughter conviction was based with the acts underlying the conviction for driving under the influence.
If the two convictions cannot be sustained by the same evidence, “ ‘then the fact that several charges relate to and grow out of one transaction or occurrence does not make a single act or offense where two separate acts or offenses are defined by statute.’ ” Londono, 40 Va.App. at 394, 579 S.E.2d at 649 (quoting Hundley v. Commonwealth, 193 Va. 449, 451, 69 S.E.2d 336, 337 (1952)).
In Londono, appellant was charged with both state and federal offenses. The charges stemmed from transporting drugs into Virginia, possessing those drugs with the intent to distribute, and for conspiring to do so. This Court found that the time and situs of appellant’s acts were different. The federal charges, possessing heroin with the intent to distribute and conspiring to possess heroin with intent to distribute, were based on his possession of those drugs at the train station in Richmond. The state charges, in contrast, were based on his transporting the drugs into the Commonwealth, which occurred the moment he crossed into Virginia with the drugs. Id. at 394-95, 579 S.E.2d at 649-50.
In Jefferson v. Commonwealth, 43 Va.App. 361, 597 S.E.2d 290 (2004), the defendant was found to be carrying a weapon *460during a traffic stop. He was charged and convicted of both carrying a concealed weapon and possession of a weapon by a convicted felon. This Court found that assuming time, situs, and victim were the same, the nature of the act was different in each prosecution. For the concealed weapon conviction, the Commonwealth had to prove that the defendant had a handgun on his person, hidden from common observation, without the legal authority to do so. Id. at 368-69, 597 S.E.2d at 294. But to prove his guilt for the second charge, the Commonwealth had to show that he had a prior felony conviction and that he knowingly and intentionally possessed or transported the gun. Id.
In this case, appellant’s conduct supported convictions for both driving under the influence and aggravated involuntary manslaughter.
First, the time and situs of the acts were different for each offense. The moment appellant began to operate his vehicle while intoxicated, he was guilty of driving under the influence. See Code § 18.2-266. It was not until he struck and killed White, some distance from where he began driving, that he committed manslaughter. Cf. Londono, 40 Va.App. at 395, 579 S.E.2d at 649-50 (holding the appellant was guilty of transporting illegal substances into the Commonwealth the moment he crossed the border into Virginia, which took place well before they were discovered).
Next, each act had a distinct victim. The victim of driving under the influence was the Commonwealth. The victim of manslaughter was Ronald White.
Finally, the nature of the act specific to each prosecution is distinct. Appellant’s act of driving with a blood alcohol concentration of at least .15 but not more than .20 predicated his conviction and sentencing for driving under the influence. In the conviction order for driving under the influence, it is clear that appellant was convicted under Code § 18.2-266(i), “while such person has a blood alcohol concentration of 0.08 or more.” Appellant was sentenced under Code § 18.2-270, which provides an additional mandatory minimum period of five days *461incarceration if the defendant’s blood alcohol concentration was at least .15 but not more than .20. Thus, the act required for a conviction of driving while intoxicated is not appellant’s manner of driving, performance on sobriety tests, etc., but rather only his blood alcohol concentration. In contrast, appellant’s act of 1) driving under the influence of alcohol (where he “has drunk enough alcoholic beverages to observably affect his manner, disposition, speech, muscular movement, general appearance or behavior,” Code § 4.1-100) and 2) killing someone as a result of his impaired driving was the evidence used to convict him of aggravated involuntary manslaughter. Although driving was the conduct common and necessary to each offense,10 the time, situs, victim, and nature of the act were distinct. Because of this, different evidence could be needed to sustain each conviction.
Therefore, appellant’s prosecution for aggravated involuntary manslaughter does not violate Code § 19.2-294.

Sufficiency


Standard of Review

In examining a challenge to the sufficiency of the evidence, appellate courts will review the evidence in the light most favorable to the party prevailing at trial and consider any reasonable inferences from the proven facts. Zimmerman v. Commonwealth, 266 Va. 384, 386, 585 S.E.2d 538, 539 (2003). The judgment of the trial court is presumed to be correct and will be reversed only if it is “plainly wrong or without evidence to support it.” Viney v. Commonwealth, 269 Va. 296, 299, 609 S.E.2d 26, 28 (2005).
Appellant contends the Commonwealth did not prove White’s death was caused by appellant’s driving under the influence. Appellant also argues the evidence did not establish he acted with a reckless disregard for human life.
*462A proximate cause is “an act or omission that, in natural and continuous sequence unbroken by a superseding cause, produces a particular event and without which that event would not have occurred.” Brown v. Commonwealth, 278 Va. 523, 529, 685 S.E.2d 43, 46 (2009); see also Doherty v. Aleck, 273 Va. 421, 428, 641 S.E.2d 93, 97 (2007). “There can be more than one proximate cause [of an incident] and liability attaches to each person whose negligent act results in the victim’s injury or death.” Gallimore v. Commonwealth, 246 Va. 441, 447, 436 S.E.2d 421, 425 (1993). Causation is a factual issue left to the jury to decide. Hall v. Commonwealth, 32 Va.App. 616, 632, 529 S.E.2d 829, 837 (2000) (en banc).
Appellant contends that his sending text messages, rather than his driving under the influence of alcohol, caused him to strike and kill White. However, this is belied by the record and by appellant’s own testimony. When appellant was asked if he might have seen the object in the road sooner had he not been texting, appellant responded negatively, because it was dark. Appellant also stated that he was not looking at his cell phone the entire time, but rather he was looking at his phone and looking at the road. Appellant testified that when Rainey alerted him to an object in the road, he immediately put down his phone and looked at the road. He said he swerved, began weaving back and forth, and lost control of the car. Appellant’s own words contradict any contention that sending text messages caused the accident.11
While appellant’s act of sending text messages while driving under the influence was foolhardy and reckless, it was not an intervening cause of the accident. “To be an intervening cause ... [an incident] must have been an event which [the defendant] could not have foreseen.” See Gallimore, 246 Va. at 447, 436 S.E.2d at 425. Any reasonably prudent person would have realized the inherent risk involved with sending text messages while driving under the influence of alcohol. *463Appellant’s use of his cellular phone to send text messages did not break the chain of events initiated by his driving while intoxicated. It merely aggravated his recklessness.
Rainey, appellant’s passenger, did not testify that appellant took any evasive action to avoid hitting White. Her testimony was that once she warned appellant that there was something in the road, appellant hit White within a few seconds.
The trier of fact is not required to accept a party’s evidence in its entirety, Barrett v. Commonwealth, 231 Va. 102, 107, 341 S.E.2d 190, 193 (1986), but is free to believe and disbelieve in part or in whole the testimony of any witness, Rollston v. Commonwealth, 11 Va.App. 535, 547, 399 S.E.2d 823, 830 (1991). The jury was entitled to reject appellant’s testimony that he swerved to miss White, and conclude that appellant had time to take evasive action, but because of his intoxicated state, failed to do so.
The impact of alcohol on appellant’s behavior is supported by the evidence. Melissa Kennedy, the toxicology expert, testified that appellant’s blood alcohol concentration was high enough that his concentration, attention, vision, judgment, and, most importantly, reaction time would all be negatively affected.
“Drunken driving is not only unlawful in itself, but it tends to make the defendant’s dangerous conduct more dangerous.” Essex v. Commonwealth, 228 Va. 273, 283, 322 S.E.2d 216, 221 (1984). Appellant’s intoxication set in motion a chain of events that led to White’s death. See Gallimore, 246 Va. at 447, 436 S.E.2d at 425. The record clearly demonstrates that appellant’s intoxication caused him to operate his vehicle in an unsafe fashion. His failure to see White lying in the road or to take any evasive action was the cause of White’s death. The fact finder could properly infer that appellant’s texting did not cause appellant’s inattention to the object in the road. Therefore, we find there was sufficient evidence for the jury to conclude that appellant’s driving under the influence of alcohol caused the accident, as well as White’s resulting death.
*464Appellant also alleges the Commonwealth failed to prove criminal negligence. This argument is without merit. “Conduct that is ‘gross, wanton and culpable’ demonstrating a ‘reckless disregard for human life’ is synonymous with ‘criminal negligence.’ ” Riley v. Commonwealth, 277 Va. 467, 483, 675 S.E.2d 168, 177 (2009) (quoting Jones v. Commonwealth, 272 Va. 692, 701, 636 S.E.2d 403, 408 (2006)).
A defendant’s “level of intoxication is ‘relevant to a determination of the degree of the defendant’s negligence: whether ordinary, gross, or wanton.’ ” Id. at 484, 675 S.E.2d at 177-78 (quoting Essex, 228 Va. at 283, 322 S.E.2d at 221-22). “It may serve to elevate the defendant’s conduct to the level of ‘negligence so gross, wanton, and culpable as to show a reckless disregard of human life.’ ” Id. at 484, 675 S.E.2d at 178 (quoting Essex, 228 Va. at 283, 322 S.E.2d at 222).
In the instant case, we look to appellant’s high blood alcohol concentration, which was higher than the legal limit. This fact by itself demonstrates criminal negligence and justifies a finding that appellant’s conduct was gross, wanton, and culpable. See Stevens v. Commonwealth, 272 Va. 481, 488, 634 S.E.2d 305, 310 (2006) (concluding that a high level of intoxication supported a finding of criminal negligence).
In addition, the record contains numerous other facts to support the jury’s finding. Appellant was driving under the influence and sending text messages on a dark, rainy night. He failed to take any evasive action to avoid hitting White. His behavior demonstrated a disregard for human life. The jury correctly found evidence of criminal negligence.

CONCLUSION

Driving under the influence and aggravated involuntary manslaughter are not the same offense. There was no violation of double jeopardy or Code § 19.2-294. The trial court properly denied appellant’s motion to dismiss the indictment. Further, the evidence was sufficient to prove that appellant drove under the influence and that this was a cause of the accident and decedent’s death. Finally, the record supports *465the jury’s finding of criminal negligence. Therefore, we affirm.

Affirmed.


. The trooper seemed to suggest that the road’s wet surface might explain the absence of skid marks.


. Miranda v. Arizona, 384 U.S. 436, 86 S.Ct. 1602, 16 L.Ed.2d 694 (1966).


. According to Kennedy, "divided attention” is the driver's ability to balance a number of skills required for safe driving, i.e., controlling the steering wheel, watching his speed, paying attention to the road and oncoming traffic, etc.


. While the Attorney General seems to argue on brief that these were not successive proceedings, but "concurrent” prosecutions, no authority is cited to suggest a third category other than simultaneous or successive. At oral argument, the Attorney General conceded that prosecutions are either simultaneous or successive. Appellant’s conviction for driving under the influence and prosecution for aggravated involuntary manslaughter were not joined in a single evidentiary hearing in the general district court. For the purposes of this appeal, therefore, we assume without deciding that these were successive prosecutions.


. While Dalo, 37 Va.App. 156, 554 S.E.2d 705, holds that the legislature intended to authorize multiple punishments under Code §§ 18.2-266 and 18.2-36.1 in simultaneous prosecutions, we need not address whether that same legislative intent applies to successive prosecutions. "A Blockburger analysis is preferred by courts generally as it maximizes *456judicial economy, providing an answer without resorting to a more detailed examination of legislative intent.” Id. at 164, 554 S.E.2d at 709.


. In a prosecution for a violation of Code § 18.2-36.1 or Code § 18.2-266(ii), (iii), or (iv), Code § 18.2-269 creates a rebuttable presumption that the accused was under the influence when the accused has a blood alcohol concentration of 0.08 or higher. However, the applicability of the statute to the issue before us was never raised below or briefed by the parties. A judge of this panel inquired whether Code § 18.2-269, in a Blockburger, 284 U.S. at 304, 52 S.Ct. at 182, context, established that the blood alcohol concentration presumption was an element common to Code §§ 18.2-266 and 18.2-36.1. The Attorney General responded *458that under Code § 18.2~266(i), the blood alcohol concentration is an element of the offense, while Code § 18.2-269 only creates a method of proving intoxication. It is not an element of Code § 18.2-36.1. We agree with the Commonwealth.


. Code § 19.2-294 is inapplicable to simultaneous prosecutions. See Johnson v. Commonwealth, 38 Va.App. 137, 145 n. 2, 562 S.E.2d 341, 345 n. 2 (2002). As we have previously stated, we assume without deciding that these were successive prosecutions.


. Johnson, 38 Va.App. 137, 562 S.E.2d 341, demonstrated it is not necessary to establish that all four factors must be present. In Johnson, this Court stated, "assuming time, situs, and victim coincided, the nature of the specific act peculiar to each prosecution is distinct.” Id. at 146, 562 S.E.2d at 346.


. It is established law that "driving an automobile may give rise to several acts and offenses.” Estes v. Commonwealth, 212 Va. 23, 24, 181 S.E.2d 622, 624 (1971).


. The Court directed the parties to address this issue at oral argument, and they did so.

